     Case 3:21-cv-00918-BAS-DEB Document 35-3 Filed 08/02/21 PageID.414 Page 1 of 16



1
       Michael W. Jacobs (SBN 174885)
2      Mjacobslaw12@gmail.com
       Janine R. Menhennet (SBN 163501)
3
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4      THE LAW OFFICES OF MICHAEL W. JACOBS
5
       11353 Meadow View Road
       El Cajon, California 92020
6      Phone: (619) 277-0461
7
       Counsel for Defendant JENNIFER WALKER
8

9

10
                                UNITED STATES DISTRICT COURT

11
                            SOUTHERN DISTRICT OF CALIFORNIA

12

13
       BREAKING CODE SILENCE, a                Case No.: 21-cv-0918-BAS-DEB
       California Public Benefit Corporation,
14                                             Assigned to Hon. Cynthia A. Bashant
15                  Plaintiff,                and Magistrate Judge Daniel E. Butcher
16
             v.                                          DEFENDANT JENNIFER
17                                                       WALKER’S REQUEST FOR
       CHELSEA PAPCIAK aka FILER, an                     JUDICIAL NOTICE IN SUPPORT OF
18
       individual; JENNIFER WALKER, an                   MOTION TO DISMISS ACTION
19     individual; JENNA BULIS, an                       UNDER FRCP 12(B)(6)
20
       individual; MARTHA THOMPSON,
       an individual, and BREAKING CODE Date:                          September 13, 2021
21     SILENCE, INC., a Florida         Dept.:                         4B
22     Corporation,                     Judge:                         Hon. Cynthia A. Bashant
23
                      Defendants.
24                                                       Action Filed: May 13, 2021
25
                                                         Trial Date: None Set

26

27

28
                  _________________________________________________________________________________

       DEFENDANT JENNIFER WALKER’S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION
                           TO DISMISS ACTION UNDER FRCP12(b)(6)
                                                              Case No. 21-cv-0918-BAS-DEB
     Case 3:21-cv-00918-BAS-DEB Document 35-3 Filed 08/02/21 PageID.415 Page 2 of 16



1
             Defendant JENNIFER WALKER requests that the Court take judicial
2
       notice, pursuant to Fed. Rules of Evidence, Rule 201, of the following public
3
       records:
4
       EXHIBIT 1: United States Patent and Trade Office’s TESS registry entries
5
       for BREAKINGCODESILENCE and BREAKING CODE SILENCE on
6
       September 3, 2020, September 24, 2020, May 5, 2021, and May 6, 2021. A true
7
       and correct copy of the TESS registry entries are attached hereto as Exhibit 1 and
8
       incorporated fully herein to this request by this reference.
9
       EXHIBIT 2: Articles of Incorporation and Statement of Information filed and
10
       maintained by the California Secretary of State Business Portal for BREAKING
11
       CODE SILENCE, filed on March 22, 2021 and May 1, 2021 respectively. A true
12
       and correct copy of the Articles of Incorporation and Statement of Information is
13
       attached hereto as Exhibit 2 and incorporated fully into this request by this
14
       reference.
15
       Each of these exhibits are public records, and are therefore the proper subject
16
       for judicial notice. Fed. R. Evid. 201(b)(2); Mackey v. JPMorgan Chase Bank,
17
       N.A., 831 Fed.Appx. 349, 351 (9th Cir. 2020).
18

19

20     Dated: 8/2/21                                           /s/ Janine R. Menhennet
21
                                                               Janine R. Menhennet
                                                               jmenhennetlaw@gmail.com
22                                                             Counsel for Defendant Jennifer
23                                                             Walker
24

25

26

27

28
                  _________________________________________________________________________________

       DEFENDANT JENNIFER WALKER’S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION
                           TO DISMISS ACTION UNDER FRCP12(b)(6)
                                                              Case No. 21-cv-0918-BAS-DEB
Case 3:21-cv-00918-BAS-DEB Document 35-3 Filed 08/02/21 PageID.416 Page 3 of 16




                              EXHIBIT 1
      Case 3:21-cv-00918-BAS-DEB Document 35-3
                                          15-3 Filed 08/02/21
                                                     06/11/21 PageID.417
                                                              PageID.196 Page 4 of 16
           United States Patent and Trademark Office
           Home I Site Index I Search I FAQ I Glossary I Contacts I eBusiness I eBiz
           alerts I News
  Trademarks > Trademark Electronic Search System {TESS}

TESS was last updated on Mon Jun 7 03:32:23 EDT 2021

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I Logout IPlease logout when you are done to release system resources allocated
for you.


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    TSDR        ASSIGN Status   TTAB status
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to return to TESS)



 BREAKING CODE STLENCE


Word Mark BREAKING CODE SILENCE
Goods and IC 035. US 100 101 102. G & S: Providing services aimed at aimed at preventing
Services institutional child abuse and empowering adult survivors to engage in positive self-
           advocacy; services to promote the interests of troubled teens by means of public
           advocacy. FIRST USE: 20191211. FIRST USE IN COMMERCE: 20191211
Standard
Characters
Claimed
Mark
Drawing    (4) STANDARD CHARACTER MARK
Code
Serial      90692440
Number
Filing Date May 5, 2021
Current
            1A
Basis
     Case 3:21-cv-00918-BAS-DEB Document 35-3
                                         15-3 Filed 08/02/21
                                                    06/11/21 PageID.418
                                                             PageID.197 Page 5 of 16
Original    1A
Filing
Basis
Owner        (APPLICANT) Breaking Code Silence, Inc. CORPORATION CALIFORNIA 272 N.
             Mar Vista Avenue Pasadena CALIFORNIA 91006
Attorney
          Lisel M. Ferguson
of Record
Type of
          SERVICE MARK
Mark
Register  PRINCIPAL
Live/Dead LIVE
Indicator

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      Case 3:21-cv-00918-BAS-DEB Document 35-3
                                          15-3 Filed 08/02/21
                                                     06/11/21 PageID.419
                                                              PageID.198 Page 6 of 16
           United States Patent and Trademark Office
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  Trademarks > Trademark Electronic Search System {TESS}

TESS was last updated on Mon Jun 7 03:32:23 EDT 2021

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    TSDR        ASSIGN Status   TTAB status
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to return to TESS)



 BREAKING CODE STLENCE


Word Mark BREAKING CODE SILENCE
Goods and IC 041. US 100 101 107. G & S: On-line articles, stories, biogs and speaking
Services engagements aimed at preventing institutional child abuse and empowering adult
           survivors to engage in positive self-advocacy. FIRST USE: 20101018. FIRST USE IN
           COMMERCE: 20101018
Standard
Characters
Claimed
Mark
Drawing    (4) STANDARD CHARACTER MARK
Code
Serial      90693777
Number
Filing Date May 6, 2021
Current
            1A
Basis
     Case 3:21-cv-00918-BAS-DEB Document 35-3
                                          15-3 Filed 08/02/21
                                                     06/11/21 PageID.420
                                                              PageID.199 Page 7 of 16
Original    1A
Filing
Basis
Owner       (APPLICANT) Breaking Code Silence, Inc. CORPORATION CALIFORNIA 272 N.
            Mar Vista Avenue Pasadena CALIFORNIA 91006
Attorney
            Lisel M. Ferguson
of Record
Type of
          SERVICE MARK
Mark
Register  PRINCIPAL
Live/Dead
          LIVE
Indicator

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      Case 3:21-cv-00918-BAS-DEB Document 35-3
                                          15-3 Filed 08/02/21
                                                     06/11/21 PageID.421
                                                              PageID.200 Page 8 of 16
           United States Patent and Trademark Office
           Home I Site Index I Search I FAQ I Glossary I Contacts I eBusiness I eBiz
           alerts I News
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TESS was last updated on Mon Jun 7 03:32:23 EDT 2021

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for you.


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to return to TESS)



 BreakingCodeSilence

Word Mark BREAKINGCODESILENCE
Goods and IC 041. US 100 101 107. G & S: Activism and advocacy group of troubled teen
Services program survivors - We are going to be providing education on boarding schools and
           teen programs. FIRST USE: 20130312. FIRST USE IN COMMERCE: 20190101
Standard
Characters
Claimed
Mark
Drawing    (4) STANDARD CHARACTER MARK
Code
Serial          90157154
Number
Filing Date     September 3, 2020
Current
                1B
Basis
Original        1B
     Case 3:21-cv-00918-BAS-DEB Document 35-3
                                         15-3 Filed 08/02/21
                                                    06/11/21 PageID.422
                                                             PageID.201 Page 9 of 16
Filing
Basis
Owner       (APPLICANT) Robison, Jen INDIVIDUAL UNITED STATES 272 N Mar Vista Ave
            Pasadena CALIFORNIA 91106

             (APPLICANT) McNamara, Katherine INDIVIDUAL UNITED STATES 272 N Mar Vista
             Ave Pasadena CALIFORNIA 91106

             (APPLICANT) Bulis, Jenna INDIVIDUAL UNITED STATES 272 N Mar Vista Ave
             Pasadena CALIFORNIA 91106

             (APPLICANT) Papciak, Chelsea INDIVIDUAL UNITED STATES 272 N Mar Vista Ave
             Pasadena CALIFORNIA 91106

             (APPLICANT) Moorman, Rebecca INDIVIDUAL UNITED STATES 272 N Mar Vista
             Ave Pasadena CALIFORNIA 91106

             (APPLICANT) Carter, Emily INDIVIDUAL UNITED STATES 272 N Mar Vista Ave
             Pasadena CALIFORNIA 91106
Type of
             SERVICE MARK
Mark
Register     PRINCIPAL
Live/Dead LIVE
Indicator

;;:+1;;.;,;; IHWil%1 HuMl,MM !IMYHM/ .¥/ii\¥192/Hi ti@MIC-@ . _       t;:;J;;.;;
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     Case 3:21-cv-00918-BAS-DEB Document 35-3
                                         15-3 Filed 08/02/21
                                                    06/11/21 PageID.423
                                                             PageID.202 Page 10 of 16
           United States Patent and Trademark Office
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           alerts I News
 Trademarks > Trademark Electronic Search System {TESS}

TESS was last updated on Mon Jun 7 03:32:23 EDT 2021

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@Mi❖MaOW 11M
I Logout IPlease logout when you are done to release system resources allocated
for you.


I Start IList                      ORIJump Itorecord:                     Record 5 out of
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    TSDR        ASSIGN Status   TTAB status
                                              ( Use the "Back" button of the Internet Browser
to return to TESS)



 Breaking Code Silence

Word Mark          BREAKING CODE SILENCE
Goods and          IC 035. US 100 101 102. G & S: Promoting the interests of troubled teens by
Services           means of public advocacy. FIRST USE: 20130401. FIRST USE IN COMMERCE:
                   20190601
Standard
Characters
Claimed
Mark Drawing       (4) STANDARD CHARACTER MARK
Code
Serial
                   90208204
Number
Filing Date        September 24, 2020
Current Basis      1A;1 B
Original
                   1A;1B
Filing Basis
Owner              (APPLICANT) McNamara, Katherine R INDIVIDUAL UNITED STATES 272 N Mar
   Case 3:21-cv-00918-BAS-DEB Document 35-3
                                       15-3 Filed 08/02/21
                                                  06/11/21 PageID.424
                                                           PageID.203 Page 11 of 16
              Vista Ave Pasadena CALIFORNIA 91106

             (APPLICANT) Robison, Jennifer INDIVIDUAL UNITED STATES 272 N Mar Vista
             Ave Pasadena CALIFORNIA 91106

             (APPLICANT) Bulis, Jenna INDIVIDUAL UNITED STATES 272 N Mar Vista Ave
             Pasadena CALIFORNIA 91106

             (APPLICANT) Carter, Emily INDIVIDUAL UNITED STATES 272 N Mar Vista Ave
             Pasadena CALIFORNIA 91106

             (APPLICANT) Moorman, Rebecca INDIVIDUAL UNITED STATES 272 N Mar
             Vista Ave Pasadena CALIFORNIA 91106

             (APPLICANT) Papciak, Chelsea INDIVIDUAL UNITED STATES 272 N Mar Vista
             Ave Pasadena CALIFORNIA 91106
Type of Mark SERVICE MARK
Register     PRINCIPAL
Live/Dead
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Case 3:21-cv-00918-BAS-DEB Document 35-3 Filed 08/02/21 PageID.425 Page 12 of 16




                               EXHIBIT 2
Case 3:21-cv-00918-BAS-DEB Document 35-3
                                    15-3 Filed 08/02/21
                                               06/11/21 PageID.426
                                                        PageID.205 Page 13 of 16


                                                                                      FILED
                             ARTICLES OF INCORPORATION                                 Secretary of State
                                                                                       State of California
                                                     OF                                         4721336
                                                                                              Filing Number
                                          %UHDNLQJ &RGH 6LOHQFH
                                                                                              03/22/2021
                                                                                               Filing Date


                                                      I.
    The name of the corporation shall be %UHDNLQJ &RGH 6LOHQFH

                                                     II.
    The place in this state where the principal office of the Corporation is to be located is
     1 0DU 9LVWD $YH 3DVDGHQD &DOLIRUQLD 

                                                    III.
    Said corporation is organized exclusively for charitable purposes, including for such purposes,
    the making of distributions to organizations that qualify as exempt organizations under section
    501(c)(3) of the Internal Revenue Code, or the corresponding section of any future federal tax
    code.

    This corporation is a nonprofit PUBLIC BENEFIT CORPORATION and is not organized
    for the private gain of any person. It is organized under the Nonprofit Public Benefit
    Corporation Law for public and charitable purposes.

    The specific purpose of this corporation is to
     HGXFDWH DGYRFDWH DQG VXSSRUW UHVHDUFK HQGHDYRUV IRU \RXWK DQG VXUYLYRUV RI UHVLGHQWLDO IDFLOLWLHV


                                                     IV.
    The name and address in the State of California of this corporation's initial agent for service of
    process is:
    /HJDO=RRPFRP ,QF
Case 3:21-cv-00918-BAS-DEB Document 35-3
                                    15-3 Filed 08/02/21
                                               06/11/21 PageID.427
                                                        PageID.206 Page 14 of 16



                                                                               4721336
                                                   V.
    No part of the net earnings of the corporation shall inure to the benefit of, or be distributable
    to its members, trustees, officers, or other private persons, except that the corporation shall be
    authorized and empowered to pay reasonable compensation for services rendered and to make
    payments and distributions in furtherance of the purposes set forth in Article III hereof. No
    substantial part of the activities of the corporation shall be the carrying on of propaganda, or
    otherwise attempting to influence legislation, and the corporation shall not participate in, or
    intervene in (including the publishing or distribution of statements) any political campaign on
    behalf of or in opposition to any candidate for public office. Notwithstanding any other
    provisions of these articles, the corporation shall not carry on any other activities not
    permitted to be carried on (a) by a corporation except from federal income tax under section
    501(c)(3) of the Internal Revenue Code, or the corresponding section of future federal tax
    code, or (b) by a corporation,(2) of the Internal Revenue Code, or the corresponding section
    of any future federal tax code.

                                                   VI.
    Upon the dissolution of the corporation, assets shall be distributed for one or more exempt
    purposes within the meaning of section 501(c)(3) of the Internal Revenue Code, or the
    corresponding section of any future tax code, or shall be distributed to the federal
    government, or to a state or local government, for a public purpose. Any such assets not so
    disposed of shall be disposed of by a Court of Competent Jurisdiction of the county in which
    the principal office of the corporation is then located, exclusively for such purposes or to such
    organization or organizations, as said Court shall determine, which are organized and operated
    exclusively for such purposes.

                                                   VI.


    IN WITNESS WHEREOF, the undersigned incorporator has executed these Articles of
    Incorporation on the date below.

                                            Date: 


                                            LegalZoom.com, Inc., Incorporator


                                                      On
                                            By: Cheyenne
                                                   yenne Moseley,
                                                         M        Assistant Secretary
Case 3:21-cv-00918-BAS-DEB Document 35-3
                                    15-3 Filed 08/02/21
                                               06/11/21 PageID.428
                                                        PageID.207 Page 15 of 16

                 California Secretary of State
                 Electronic Filing                                                     Secretary of State
                                                                                       State of California


  Corporation - Statement of Information
                                Entity Name: BREAKING CODE SILENCE


                      Entity (File) Number:         C4721336
                                      File Date:    05/01/2021
                                   Entity Type:     Corporation
                                   Jurisdiction:    CALIFORNIA
                                Document ID:        GS96633

  Detailed Filing Information


  1. Entity Name:                                   BREAKING CODE SILENCE


  2. Business Addresses:
     a. Street Address of Principal
         Office in California:
                                                     272 N Mar Vista Ave
                                                     Pasadena, California 91106
                                                     United States of America

      b. Mailing Address:
                                                     P.O. Box 91896
                                                     Pasadena, California 91109
                                                     United States of America
  3. Officers:
     a. Chief Executive Officer:                     Vanessa Hughes
                                                                                                        (Y')
                                                     P.O. Box 91896                                     (Y')
                                                                                                        co
                                                     Pasadena, California 91109                         co
                                                                                                        0)
                                                     United States of America                           (J')
                                                                                                        (!)

      b. Secretary:                                  Jenny Magill
                                                     P.O. Box 91896                                    ...
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                                                     Pasadena, California 91109                         (I)

                                                     United States of America                           E
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            Use bizfile.sos.ca.gov for online filings, searches, business records, and resources.
Case 3:21-cv-00918-BAS-DEB Document 35-3
                                    15-3 Filed 08/02/21
                                               06/11/21 PageID.429
                                                        PageID.208 Page 16 of 16

                     California Secretary of State
                     Electronic Filing

   Officers (Cont'd):

       c. Chief Financial Officer:                        Katherine McNamara
                                                          P.O. Box 91896
                                                          Pasadena, California 91109
                                                          United States of America

  4.    Agent for Service of Process:                     Katherine McNamara
                                                          272 N Mar Vista Ave
                                                          Pasadena, California 91106
                                                          United States of America




         By signing this document, I certify that the information is true and correct and that I am authorized by
         California law to sign .




         Electronic Signature:   Katherine McNamara




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